                           Case 1:23-mi-99999-UNA Document 396-5 Filed 02/08/23 Page 1 of 2
JS44 (Rev. 10 0 0 NDGA)                          CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         Kathy Teague                                                                            Aldridge Pite Haan, LLP




   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
        PLAINTIFF           Newton County GA                                                   DEFENDANT     Fulton County GA
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

         James W. Hurt, Jr.
         Hurt Stolz, P.C.
         1551 Jennings Mill Rd., Unite 3100B
         Watkinsville, GA 30677
         jhurt@hurtstolz.com. 706-395-2750


II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT         ✔ 3 FEDERAL QUESTION                               1        1 CITIZEN OF THIS STATE               4       4    INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT             4 DIVERSITY                                    2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
     DEFENDANT                     (INDICATE CITIZENSHIP OF PARTIES                                                                         PLACE OF BUSINESS IN ANOTHER STATE
                                    IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
 ✓ 1 ORIGINAL 2 REMOVED FROM         3 REMANDED FROM                           4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
        PROCEEDING          STATE COURT              APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

     Violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.




(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                        6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                  8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
            Case 1:23-mi-99999-UNA Document 396-5 Filed 02/08/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK            CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK             SOCIAL SECURITY - "0" MONTHS DISCOVERY
       150 RECOVERY OF OVERPAYMENT &                   440 OTHER CIVIL RIGHTS                          TRACK
            ENFORCEMENT OF JUDGMENT                    441 VOTING                                             861 HIA (1395ff)
       152 RECOVERY OF DEFAULTED STUDENT               442 EMPLOYMENT                                         862 BLACK LUNG (923)
           LOANS (Excl. Veterans)                      443 HOUSING/ ACCOMMODATIONS                            863 DIWC (405(g))
       153 RECOVERY OF OVERPAYMENT OF                  445 AMERICANS with DISABILITIES - Employment           863 DIWW (405(g))
           VETERAN'S BENEFITS                          446 AMERICANS with DISABILITIES - Other                864 SSID TITLE XVI
                                                       448 EDUCATION                                          865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
       110 INSURANCE                                                                                   FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
       120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK              TRACK
       130 MILLER ACT                                  462 NATURALIZATION APPLICATION                         870 TAXES (U.S. Plaintiff or Defendant)
       140 NEGOTIABLE INSTRUMENT                       465 OTHER IMMIGRATION ACTIONS                          871 IRS - THIRD PARTY 26 USC 7609
       151 MEDICARE ACT
       160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY             OTHER STATUTES - "4" MONTHS DISCOVERY
       190 OTHER CONTRACT                        TRACK                                                 TRACK
       195 CONTRACT PRODUCT LIABILITY                  463 HABEAS CORPUS- Alien Detainee                      375 FALSE CLAIMS ACT
       196 FRANCHISE                                   510 MOTIONS TO VACATE SENTENCE                         376 Qui Tam 31 USC 3729(a)
                                                       530 HABEAS CORPUS                                      400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                   535 HABEAS CORPUS DEATH PENALTY                        430 BANKS AND BANKING
TRACK                                                  540 MANDAMUS & OTHER                                   450 COMMERCE/ICC RATES/ETC.
       210 LAND CONDEMNATION                           550 CIVIL RIGHTS - Filed Pro se                        460 DEPORTATION
       220 FORECLOSURE                                 555 PRISON CONDITION(S) - Filed Pro se                 470 RACKETEER INFLUENCED AND CORRUPT
       230 RENT LEASE & EJECTMENT                      560 CIVIL DETAINEE: CONDITIONS OF                           ORGANIZATIONS
       240 TORTS TO LAND
       245 TORT PRODUCT LIABILITY
                                                           CONFINEMENT
                                                                                                          ✓   480 CONSUMER CREDIT
                                                                                                              485 TELEPHONE CONSUMER PROTECTION ACT
       290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                    490 CABLE/SATELLITE TV
                                                 TRACK                                                        890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY - "4" MONTHS                   550 CIVIL RIGHTS - Filed by Counsel                    891 AGRICULTURAL ACTS
DISCOVERY TRACK                                        555 PRISON CONDITION(S) - Filed by Counsel             893 ENVIRONMENTAL MATTERS
       310 AIRPLANE                                                                                           895 FREEDOM OF INFORMATION ACT 899
       315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                    899 ADMINISTRATIVE PROCEDURES ACT /
       320 ASSAULT, LIBEL & SLANDER              TRACK                                                            REVIEW OR APPEAL OF AGENCY DECISION
       330 FEDERAL EMPLOYERS' LIABILITY                625 DRUG RELATED SEIZURE OF PROPERTY                   950 CONSTITUTIONALITY OF STATE STATUTES
       340 MARINE                                           21 USC 881
       345 MARINE PRODUCT LIABILITY                    690 OTHER
                                                                                                       OTHER STATUTES - "8" MONTHS DISCOVERY
       350 MOTOR VEHICLE
                                                                                                       TRACK
       355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
       360 OTHER PERSONAL INJURY                       710 FAIR LABOR STANDARDS ACT                           410 ANTITRUST
       362 PERSONAL INJURY - MEDICAL                   720 LABOR/MGMT. RELATIONS                              850 SECURITIES / COMMODITIES / EXCHANGE
           MALPRACTICE                                 740 RAILWAY LABOR ACT
       365 PERSONAL INJURY - PRODUCT LIABILITY         751 FAMILY and MEDICAL LEAVE ACT                OTHER STATUTES - “0" MONTHS DISCOVERY
       367 PERSONAL INJURY - HEALTH CARE/              790 OTHER LABOR LITIGATION                      TRACK
            PHARMACEUTICAL PRODUCT LIABILITY           791 EMPL. RET. INC. SECURITY ACT                       896 ARBITRATION
       368 ASBESTOS PERSONAL INJURY PRODUCT                                                                       (Confirm / Vacate / Order / Modify)
            LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                 TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                 820 COPYRIGHTS
DISCOVERY TRACK                                        840 TRADEMARK                                   * PLEASE NOTE DISCOVERY
       370 OTHER FRAUD
       371 TRUTH IN LENDING                                                                              TRACK FOR EACH CASE
       380 OTHER PERSONAL PROPERTY DAMAGE
       385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                 PROPERTY RIGHTS - "8" MONTHS DISCOVERY                  TYPE. SEE LOCAL RULE 26.3
                                                 TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                 830 PATENT
       422 APPEAL 28 USC 158                            835 PATENT A REVIATED NEW DRUG
                                                            APPLICATIONS ANDA
       423 WITHDRAWAL 28 USC 157
                                                            H    W




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23                                 .
                                                          DEMAND $_____________________________
JURY DEMAND ✓ YES              NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
       JUDGE_______________________________                           DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
       1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
          BANKRUPTCY JUDGE.
       5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




       7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                        , WHICH WAS
          DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




                                                                                                       February 8, 2023
 SIGNATURE OF ATTORNEY OF RECORD                                                                DATE
